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                    BEFORE THE UNITED STATES JUDICIAL PANEL
                         ON MULTIDISTRICT LITIGATION


    IN RE:
                                                                                 MDL No. 3010
    GOOGLE DIGITAL ADVERTISING
    ANTITRUST LITIGATION

              GOOGLE LLC AND ALPHABET INC.’S REPLY IN SUPPORT OF
             MOTION TO VACATE CONDITIONAL TRANSFER ORDER (CTO-11)

         Rumble gambled when it waited until the end of fact discovery in the MDL to file its

complaint, despite obviously wanting to draft off of the work done in those other cases.

Rumble’s Opposition brief provides no explanation for its dilatory approach in slavishly (and in

many cases incomprehensibly) copying long-ago filed online display advertising allegations for

its putative video-related harm allegedly suffered since 2014. Indeed, Rumble is no stranger to

suing Google, having filed a complaint alleging a different antitrust theory in January 2021. See

Am. Compl. ¶ 1, N.D. Cal. ECF No. 23 (identifying Rumble Inc. v. Google LLC, No.

4:21-cv-00229-HSG (N.D. Cal.)).1 Instead, Rumble’s brief lays bare its strategy: attempt to join

the MDL, piggyback off of other plaintiffs, and argue for an unrealistically abbreviated discovery

period of “several months” when discovery in every other related case has taken years.

         Rumble’s strategy should fail. Transferring Rumble would serve neither justice nor

efficiency. Rumble’s case is not as factually similar to the MDL’s display advertising cases as it

would have this Panel believe. Rumble, an online video platform, only expressly alleges harm

stemming from transacting in video advertising and, contrary to claims in Rumble’s brief, does

not plead facts unequivocally showing it transacted in display advertising. Indeed, Rumble’s


1
 Abbreviations for ECF filing citations are incorporated from Google’s Brief in Support of
Motion to Vacate CTO-11, JPML ECF No. 269-2 (“Mot.”).

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complaint does not expressly plead the necessary facts to qualify it for membership in any of the

MDL putative classes. And regardless, the MDL is but one of three sets of pending cases

relating to Google’s advertising technology (ad tech) across multiple jurisdictions, so the risk of

inconsistent rulings exists equally whether Rumble is centralized or not. Fact discovery is closed

in every one of these other cases, so the Rumble action will require proceedings on its own track

whether Rumble proceeds before Judge Castel or Judge Freeman.             The Panel should grant

Google’s Motion to Vacate CTO-11.


                                          ARGUMENT

       Transferring this nascent action to a MDL that has finished common fact discovery and is

nearing completion of pretrial proceedings serves neither efficiency nor justice.         Rumble’s

Opposition fails to offer efficiencies to the contrary, particularly because Rumble’s action differs

from those centralized in this display advertising MDL. Rumble’s amended complaint does not

expressly allege display advertising transactions, and it does not even expressly plead facts that

appear to qualify Rumble for membership in any of the MDL’s putative classes. Moreover,

Rumble’s proposal for an unrealistically abbreviated discovery schedule is not an efficiency, but

rather an example of Rumble’s gamesmanship that would prejudice Google’s ability to

adequately conduct discovery. Applicable precedent shows that transfer is inappropriate here,

and none of Rumble’s cited authority counsels otherwise.

           A. Rumble Does Not Offer Any Efficiencies Gained Through Transfer

       In its Opposition brief, Rumble offers no actual efficiencies that would be gained from

transferring the Rumble action to the MDL. Rumble principally claims that transfer is the only

way to ensure consistency of pretrial rulings. Pl.’s Resp. in Opp. to Mot. to Vacate CTO-11 at

7-8, JPML ECF No. 273 (“Opp.”). This is obviously incorrect. Rumble does not dispute that



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there are currently three different sets of antitrust proceedings concerning Google ad tech: a DOJ

case, a state attorneys general case, and the MDL—each pending in a different jurisdiction. Each

of these courts has been attentive to issues of coordination across cases, see Mot. at 8, and there

is no reason to expect that the Northern District of California would be any different.

       Rumble also overstates the similarity of its case to those in the MDL and, therefore,

overstates both the risk and the implications of inconsistent rulings. The MDL “concern[s] the

allegation that Google has monopolized or suppressed competition in online display advertising

services.” In re Digital Advertising Antitrust Litig., 555 F. Supp. 3d 1372, 1377 (J.P.M.L. 2021).

Rumble argues that its amended complaint shares common questions of fact with other actions in

the MDL because it pleads the same claims as other centralized plaintiffs alleging injury in

connection with online display advertising. Opp. at 4-5. This is exaggerated, and purely a

function of Rumble’s artificial approach of copying allegations from MDL constituent actions.

Three features demonstrate the difference between Rumble’s video-related claims and this

display advertising MDL:

       First, despite amending its complaint in lieu of opposing Google’s initial motion to

dismiss premised on Rumble’s failure to plead display advertising transactions, Rumble still does

not expressly plead it transacted in display advertising as it does video advertising. Rumble’s

citation to ambiguous allegations from its amended complaint does not save it. See Opp. at 6.

The best Rumble can muster in defense of its attempt to join the MDL is the allegation that “[a]s

an online video platform, Rumble monetizes its content through placing ads that are displayed

before, during, after, and alongside videos that appear on Rumble’s platform.” Am. Compl. ¶ 19,

N.D. Cal. ECF No. 23 (emphasis added);2 see also Opp. at 6. But this allegation fails to plead
2
 Rumble argues its allegations that it uses Google’s ad server and offers a competitive ad server,
RAC, also demonstrate that it transacted in display advertising. Opp. at 6. But the amended
complaint alleges that Google’s ad server can serve video advertisements, see Am. Compl. ¶ 121,

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that the advertisements displayed “alongside videos” were display advertisements, which

Rumble alleges are distinct from the types of video ads that can appear “alongside” videos. See

Am. Compl. ¶¶ 63, 121, N.D. Cal. ECF No. 23; see also id. ¶ 60 (both display ads and video ads

can appear “alongside” web content). Nowhere else does the amended complaint otherwise

specify that the advertisements Rumble transacted were display advertisements.

       Second, Rumble does not even plead facts that would qualify it for membership in any of

the MDL’s putative publisher or advertiser classes, further underscoring the difference between

Rumble’s action and the MDL, and mitigating the impact of any hypothetical inconsistent

rulings. The publisher class complaint defines two putative classes of display advertising sellers:

one conditioning membership on using Google’s ad exchange for display advertising and the

other conditioning membership on using Google’s ad network for display advertising. See First

Am. Consol. Class Action Compl. ¶ 368, MDL ECF No. 408. But Rumble does not allege using

Google’s ad network, AdSense, to transact any online advertising, nor does it expressly allege

that it actually used Google’s ad exchange, AdX, to transact online display advertising. As a

result, Rumble does not appear to qualify as a MDL putative publisher class member. The

advertiser class complaint defines a putative class of online display advertisers that conditions

membership on placing a display ad on a website or mobile application “via a transaction in

which the impression was sold, brokered, exchanged or auctioned by Google.”                Consol.

Advertiser Class Action Compl. ¶ 339, MDL ECF No. 399. Judge Castel further limited the


N.D. Cal. ECF No. 23, and does not plead RAC serves display advertising, see id. ¶¶ 94-95, N.D.
Cal. ECF No. 23 (alleging RAC is the fruition of Rumble’s desire to “establish[] its own
Advertising Center to use for its own video content advertising, and to make that available to
other publishers as well”). In contrast, there are no allegations in the MDL about the
video-serving capabilities of Google’s ad server. To the extent Rumble intends to suggest it uses
Google’s ad server for both display and video advertising, this would run counter to Rumble’s
own allegations that “publishers typically chose only one ad server to manage each type of
inventory they sell.” Id. ¶ 62, N.D. Cal. ECF No. 23.

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putative advertiser class’s federal antitrust claims to those plaintiffs using Google Ads. Op. &

Or. at 11-13, MDL ECF No. 701.          Putting aside Rumble’s bare assertions of its apparent

advertiser status, see Opp. at 6 (citing Am. Compl. ¶¶ 112-13, N.D. Cal. ECF No. 23), Rumble’s

amended complaint does not allege that Rumble used Google’s ad buying tools as an advertiser,

let alone to purchase display ads. As a result, Rumble does not qualify as an MDL putative

advertiser class member either. There is little risk, then, that pretrial rulings in the MDL will be

inconsistent with those prospectively rendered by Judge Freeman in the Rumble action.

       And third, Rumble’s attempt to liken itself to MDL plaintiff Inform does not raise the

prospect of inconsistent pretrial rulings or that transfer would promote efficiency. See Opp. at 7;

see also Inform Inc. v. Google LLC et al., No. 1:23-cv-01530-PKC (S.D.N.Y.). As an initial

matter, the conditional transfer order that ultimately transferred the Inform action to Judge Castel

(CTO-9) was issued in October 2022, before the 18-month common fact discovery period began

in the MDL, and Inform was formally transferred just after the common fact discovery period

began. See Conditional Tr. Or. (CTO-9), JPML ECF No. 206; Transfer Or., JPML ECF No. 227;

Pre-Trial Or. No. 5 ¶ 6, MDL ECF No. 394. Additionally, though Inform’s complaint included

certain non-display advertising allegations, Inform expressly alleged that it was a publisher

transacting in display advertising. See, e.g., Exhibit A (Inform Inc. v. Google LLC et al. First

Am. Compl.) ¶ 98, JPML ECF No. 202-3 (alleging Inform uses Google’s ad server for “both

display and online video advertisements or creatives”). In comparison, while Rumble alleges

that it uses Google’s ad server to monetize its online video platform, it does not specify that it

transacts in display advertising, and it additionally alleges that publishers typically use only one

ad server for each type of the publisher’s inventory (e.g., display or video). Am. Compl. ¶ 19,

N.D. Cal. ECF No. 23 (alleging use of Google’s ad server to monetize Rumble online video




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platform without specifying advertising type); id. ¶¶ 62-63 (alleging that “publishers typically

chose only one ad server to manage each type of inventory they sell” and that “display and video

ads are different types of ads . . . requir[ing] different technology to manage”). Thus, Rumble is

not like Inform, or any of the other MDL plaintiffs.

             B. Rumble’s Proposed Abbreviated Discovery Schedule Is Not An Efficiency
                And Would Prejudice Google
       Rumble also argues that as a benefit of transfer, the MDL court could abbreviate the

discovery period available for the Rumble action, forcing the parties to conduct “limited”

discovery over an incredibly compressed timeline of “several months” so that Rumble could

catch up with the MDL. Opp. at 2, 9-10. This argument spotlights the injustice and inefficiency

of transferring this action to the MDL: during a “short period of time,” Rumble expects the

parties to brief Judge Castel on Google’s motion to dismiss, receive a ruling, and then, if

Rumble’s complaint survives Google’s motion to dismiss, conduct “limited” discovery

“concurrently with the common pretrial matters,” which are due to conclude case-specific expert

discovery on February 2025 ahead of motions for summary judgment in mid-March. Id. at 10;

see also Rev. Case Mgm’t Plan & Schedl’g Or., MDL ECF No. 880. Rumble’s proposal is

unrealistic and unnecessary, and is nothing more than gamesmanship to engage in one-sided

discovery while inhibiting Google’s ability to take the discovery it needs of Rumble. Proceeding

on such an abbreviated schedule would prejudice Google, depriving Google of the opportunity to

conduct the discovery that it needs of the many Rumble-specific issues raised in the amended

complaint.

       The eminently more just and efficient approach is to leave the action before Judge

Freeman. At Rumble’s request, Google agreed to extend the briefing schedule for Google’s

motion to dismiss, and discovery has been stayed. See Or. re Jt. Stipulation, N.D. Cal. ECF No.



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37. If Rumble survives Google’s motion to dismiss, the parties can proceed with discovery on an

appropriate timeline.

           C. Rumble’s Cited Authority Does Not Offer Support for Denying Google’s
              Motion to Vacate CTO-11
       Contrary to Rumble’s arguments, applicable and persuasive precedent shows transfer is

inappropriate for newly filed actions where common fact discovery has concluded in the MDL.

See Mot. at 5-8. For instance, In re A.H. Robins Co., Inc. “Dalkon Shield” IUD Prods. Liab.

Litig., 505 F. Supp. 221 (J.P.M.L. 1981) (per curiam) is instructive. There, the Panel assessed

motions to vacate conditional transfer orders conditionally transferring five tag-along actions to

an advanced MDL in which “common discovery relating to product liability ha[d] been

completed.” In re A.H. Robins Co., 505 F. Supp. at 222. The Panel vacated the conditional

transfer orders, observing that it had previously denied transfers to the MDL because the only

remaining purpose for transfer was “obtaining the benefits and restrictions derived from the

pretrial orders entered by the transferee judge” such that transfer would not “promote the just and

efficient conduct of the litigation.” Id. at 222-23.

       The Panel’s ruling in In re Richardson-Merrell, Inc., 582 F. Supp. 890, 891 (J.P.M.L.

1984), which involves conditional transfer orders to transfer newly filed actions to a MDL that

already completed “discovery pertaining to common issues,” is likewise instructive. As in In re

A.H. Robins Co., the Panel in In re Richardson-Merrell vacated the conditional transfer orders,

noting “that procedures exist whereby relevant discovery already completed in the transferee

district may be made available to the parties in newly filed actions,” id.—procedures which are

also available to Rumble should its complaint survive Google’s motion to dismiss. That the

transferee court there had already scheduled a trial on common liability issues is of no moment

here given that the touchstone to assess propriety of transfer under section 1407 is pretrial



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proceedings, after which the MDL’s constituent actions are remanded to the transferor courts for

trial. See 28 U.S.C. § 1407(a); Lexecon v. Milberg Weiss Bershad Hynes & Lerach, 523 U.S. 26,

34-35, 39-40 (1998); see also In re A.H. Robins Co., 505 F. Supp. at 222-23 (transfer would not

promote efficiency where common discovery was completed).

       And lastly, the Panel’s ruling in In re: Checking Account Overdraft Litig., 818 F. Supp. 2d

1373 (J.P.M.L. 2011) provides applicable guidance. There, the Panel considered motions to

vacate a conditional transfer order conditionally transferring a newly-filed tag-along action to a

two-year-old MDL where the transferee court had “organized the actions into multiple groups”

with “a detailed schedule governing the conduct of all pretrial events.” Id. at 1373. Contrary to

Rumble’s representation, see Opp. at 8, these groups were “in various stages of discovery,” and

the only actions set for trial were those being tried in the transferee court. In re: Checking Acct.

Overdraft Litig., 818 F. Supp. 2d at 1373. The Panel granted the motions, observing that “[a]fter

a certain point . . . the benefits of transfer should not be assumed to continue” and “the Panel

must always consider the impact that transfer of that action could have on the cases already in

the MDL” before ultimately concluding that transfer “would not promote the just and efficient

conduct of the litigation, because it threatens to significantly hinder the resolution of the

already-centralized actions.” Id. at 1373-74. Similar to In re Richardson-Merrell, the Panel

noted that the parties in the tag-along action, “as well as parties in subsequently-filed actions,

should be able to avail themselves of the discovery already obtained in the MDL under [the

transferee judge’s] supervision (subject, of course, to the same conditions as those imposed on

parties in the MDL) . . . even absent transfer.” Id. at 1374.

       Rumble’s cited authority does not counsel otherwise.         As a general matter, none of

Rumble’s authority addresses whether to transfer a new late-comer tag-along action with an




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established, advanced MDL that is nearing completion of pretrial proceedings. All involve

whether to create a MDL in the first place, a decision that was already made here over three

years ago. Rumble’s principal authority, In re Baby Food Mktg., Sales Pracs. & Prod. Liab.

Litig. (No. II), MDL No. 3101, 2024 WL 1597351 (J.P.M.L. Apr. 11, 2024), confronted whether

to establish a MDL by centralizing 10 actions alleging personal injury from toxic heavy metals in

baby food products, particularly where some relevant discovery was nearly complete in two prior

actions not subject to the instant request for centralization.          While the Panel ordered

centralization, its decision primarily pivots on the number of defendants named across the

actions such that “alternatives to centralization—such as informal cooperation between the

parties and coordination among the involved courts”—were not preferable to centralization. In

re Baby Food, 2024 WL 1597351, at *2.           In contrast, this MDL was already established,

common fact discovery for all constituent actions is completed, and the MDL involves only one

remaining active defendant such that “informal cooperation between the parties and coordination

among the involved courts” is not only possible, it is already in practice. See Mot. at 8.

       Rumble’s other cited cases are no better.           The Panel’s ruling in In re Tylenol

(Acetaminophen) Mktg., Sales Pracs. & Prod. Liab. Litig., 936 F. Supp. 2d 1379 (J.P.M.L. 2013)

also involves a first-instance inquiry, specifically whether to centralize 27 tort actions alleging

injury from over-the-counter Tylenol. It offers no specific guidance on whether to transfer a

late-comer action still in its pleading stage to a MDL nearly finished with pretrial proceedings.

Nor does Rumble’s other cited authority. See In re Glucagon-Like Peptide-1 Receptor Agonists

Prod. Liab. Litig., 717 F. Supp. 3d 1370 (J.P.M.L. 2024) (addressing whether to create a MDL

for 18 products liability actions alleging injury from GLP-1 RA class of drugs); In re

Westinghouse Elec. Corp. Uranium Contracts Litig., 405 F. Supp. 316 (J.P.M.L. 1975)




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(addressing whether to create a MDL for 13 actions against a single defendant spawned from a

refusal to perform contractual obligations); In re Katz Interactive Call Processing Pat. Litig., 481

F. Supp. 2d 1353 (J.P.M.L. 2007) (addressing whether to create a MDL for 25 actions concerning

infringement and invalidity of one or more interactive call processing patents in which certain of

the 25 actions were “further advanced than other actions”); In re Rembrandt Techs., LP, Pat.

Litig., 493 F. Supp. 2d 1367 (J.P.M.L. 2007) (addressing whether to create a MDL for 15 actions

concerning infringement and/or invalidity of one or more patents in which the first-filed action

was “somewhat further advanced than those in the other actions”).

       Because transferring the Rumble action to the MDL would serve neither justice nor

efficiency, the Panel should vacate CTO-11.


                                         CONCLUSION

       For the above reasons, Google respectfully requests that the Panel vacate CTO-11.


 Dated: November 4, 2024                           Respectfully submitted,

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